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8
                         THE UNITED STATES DISTRICT COURT
9
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
        In re Outlaw Laboratory, LP               Case No. 3:18–cv–840–GPC–BGS
12
        Litigation                                consolidated with 3:18–cv–1882–
13                                                GPC–BGS
14
                                                  Tauler Smith LLP’s Brief
15                                                Regarding the Collusive Effect
                                                  of the Outlaw–Stores
16
                                                  Settlement Agreement
17

18                                                     UNDER SEAL
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1      I.    INTRODUCTION
2            Counter-Defendant Tauler Smith LLP (“TSLLP” or “Tauler Smith”) re-
3      spectfully submits this brief pursuant to the Court’s Order (ECF No. 290 (Sep.
4      15, 2020)) to assist the Court in determining if the settlement agreement be-
5      tween Counter-Defendants Outlaw Laboratory, LP, Sean Wear, and Michael
6      Lynch (collectively, “Outlaw”), and Counterclaimants Roma Mikha, Inc.,
7      NMRM, Inc., and Skyline Market, Inc. (“Counterclaimants”) and 25 store De-
8      fendants represented by Gaw Poe is tainted by collusion or will prejudice absent
9      class members.
10     II.   ARGUMENT
11
             A.     The Settlement Agreement Requires Approval of the Court
12                  as a Class Action Settlement Because It Compromises Class
                    Claims Against Outlaw
13

14           Disclosure of the Settlement Agreement between Outlaw and Counter-

15     claimants dated June 23 and 24, 2020 (“Settlement Agreement”) (Ex. A to Dec-

16     laration of David A. Sergenian (“Sergenian Decl.”)) makes clear that Gaw Poe

17     has attempted to circumvent the Court’s procedures for approving settlement of

18     class claims. A review of the terms of the Settlement Agreement shows that Gaw

19     Poe agreed to dismiss the Payment Class’s claims against Outlaw.1

20           In the Settlement Agreement, Counterclaimants “for themselves, and all

21     who may now or in the future claim, by, through or under them, hereby fully

22

23      1 As the Court is aware, Counterclaimants abandoned all class claims on behalf of the Sued
24      Stores and Threatened Stores putative classes, and the only remedy they seek on behalf of
        these two putative classes (injunctive relief) is not available as a matter of law. (See ECF No.
25      261 at p. 9 (Stores conditionally withdrawing request to certify Sued and Threatened Stores
        classes); ECF No. 179-1 at pp. 15, 16, 23, 24 (Stores, in moving for certification, abandoning
26
        claims for damages and seeking only injunctive relief on behalf of Sued and Threatened
27      Stores); ECF No. 293 at pp. 31, 32 (granting summary adjudication on grounds that injunc-
        tive relief is not available on RICO claims).) Accordingly, the only class claims that remain
28      are those of the Payment Class.
                                                     –1–
        Tauler Smith’s Brief re                                       Case No. 3:18–cv–840–GPC–BGS
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1      and finally release, acquit, and forever discharge Outlaw Laboratory [including
2      Wear and Lynch, among others]” from all liability. (Ex. A § 2.2.) It was “the
3      intention of the Parties to this Agreement that this Agreement be in the broad-
4      est scope possible,” that the Agreement “encompass all conceivable causes of ac-
5      tion and claims held, up to the date of execution of this Agreement, by any of the
6      Parties,” and “that this Agreement resolves all dealings of the Parties from the
7      beginning of time up to the date of execution of this Agreement.” (Id. § 3.1.) Fur-
8      thermore, the Settlement Agreement “is intended to constitute complete accord
9      and satisfaction for all causes of action as are, were or could have been asserted
10     in the Lawsuit between the Parties…” (Id. § 3.2.) In addition, Gaw Poe agreed
11     “that none of its attorneys, employees, agents, or contractors will advertise, so-
12     licit, or represent any new clients for the purpose of bringing claims against
13     Outlaw Laboratory related to any claim allegedly resulting from or occurring in
14     connection with the conduct of Outlaw set forth in the Lawsuit.” (Id. § I.9.) Coun-
15     terclaimants and Gaw Poe further agreed “that they will not cooperate or assist
16     in any manner any non–party with regard to any claims that non–party may or
17     is asserting against Outlaw Laboratory.” (Id. § I.10.)
18           These terms constitute a settlement of the Payment Class’s claims against
19     Outlaw because Counterclaimants’ release of Outlaw extends to “all who may
20     now or in the future claim, by, through or under them” (Ex. A § 2.2); i.e., the
21     Payment Class. Furthermore, Gaw Poe has agreed not to represent any “new
22     clients” in asserting claims against Outlaw (id. § I.9), or even to assist any non-
23     parties to the Settlement Agreement with regard to any claims they may or are
24     asserting against Outlaw (id. § I.10), meaning that Gaw Poe will not sue Outlaw
25     on behalf of anyone, including on behalf of absent Payment Class Members. 2
26

27      2 The non-signatory absent Class Members cannot credibly be classified as “current clients”
        of Gaw Poe. If Gaw Poe contends otherwise, it should be required to provide admissible evi-
28      dence showing that the non-signatory absent Class Members are clients of the firm.
                                                   –2–
        Tauler Smith’s Brief re                                    Case No. 3:18–cv–840–GPC–BGS
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1            If this were not clear enough, Counterclaimants’ counsel has confirmed
2      that the effect of the Settlement Agreement is that Outlaw is no longer subject
3      to liability from any class members. In its July 24, 2020 filing, Gaw Poe wrote
4      that “Tauler Smith offers no evidence to suggest that many absent class mem-
5      bers even know about this litigation, let alone that they are relying on it to vin-
6      dicate their claims against Outlaw, as opposed to vindicating their claims
7      against the lawyers who created the scheme, and who remain in the dock.” (ECF
8      No. 261 at pp. 6–7.) Only Tauler Smith remains “in the dock” because Counter-
9      claimants have covenanted not to sue Outlaw on behalf of themselves or on be-
10     half of anyone else (Ex. A §§ 2.2, 3.1, 3.2), and Gaw Poe has covenanted to not
11     represent any parties against Outlaw (or even assist them in prosecuting claims
12     against Outlaw) (id. §§ I.9, I.10). Mr. Poe confirmed to undersigned counsel, in
13     an email on July 9, 2020, that his firm will not prosecute any claims on behalf
14     of the Payment Class against Outlaw—even though this is a class action pur-
15     portedly filed on behalf of the Payment Class and others—stating in the email:
16     “[Y]ou are correct that Outlaw would remain liable to the other victims of the
17     Enterprise, if those stores decided to sue.” (Ex. B to Sergenian Decl.)3 Mr. Poe
18     also confirmed in the same email his opinion that due to the Settlement Agree-
19     ment, Outlaw, Wear, and Lynch are no longer parties to this action: “None of
20

21      3 Mr. Poe’s assertion that the absent class members have not already sued Outlaw is mis-
        taken. Because Gaw Poe filed claims on behalf of the Payment Class, this action must be
22      treated as if the absent Payment Class members have already sued Outlaw, notwithstanding
        that no class has yet been certified. See Diaz v. Tr. Territory of Pac. Islands, 876 F.2d 1401,
23
        1408 (9th Cir. 1989) (“[D]uring the interim between filing and certification, a court must
24      assume for purposes of dismissal or compromise that an action containing class allegations
        is really a class action.”). It is impossible to reconcile how Gaw Poe can purport to represent
25      the Payment Class, yet unilaterally dismiss three of the four counterclaim-defendants/third-
        party defendants without seeking Court approval. TSLLP looks forward to reading Gaw
26
        Poe’s explanation as to how it can simultaneously: (a) prosecute claims on behalf of the Pay-
27      ment Class, (b) take the position that Outlaw remains liable to absent Payment Class Mem-
        bers, and (c) treat Outlaw, Sean, and Wear as if they have been dismissed from the case and
28      are no longer counterclaim-defendants.
                                                    –3–
        Tauler Smith’s Brief re                                      Case No. 3:18–cv–840–GPC–BGS
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1      Outlaw, Mr. Wear, or Mr. Lynch remain counterclaim-defendants / third-party
2      defendants in the action.” (Id.) Accordingly, Mr. Poe has confirmed that the Set-
3      tlement Agreement dismisses the Payment Class’s claims against Outlaw. 4
4             Moreover, if the Court approves the settlement of the Payment Class’
5      claims, it will bar absent class members from asserting claims against Outlaw
6      arising from the same facts and circumstances in later proceedings. See Rangel
7      v. PLS Check Cashers of California, Inc., 899 F.3d 1106, 1110 (9th Cir. 2018) (“It
8      is well-settled that a class settlement resulting in final judgment is sufficient to
9      meet the ‘final and on the merits’ element of res judicata, and ‘is as conclusive a
10     bar as a judgment rendered after trial.’”). 5 Gaw Poe likely sought to avoid
11
        4 Notwithstanding the plain terms of the Settlement Agreement, Gaw Poe represented to the
12      Court that “the Settlement does not purport to bind putative class members…” (ECF No. 252
13      at p. 1; see also id. at p. 4 (“the Settlement does not bind … the claims of putative class
        members at all.”); ECF No. 261 (Jul. 24, 2020) (“[S]ince the Stores have no authority to com-
14      promise the claims of absent class members, it is hard to see how they could have ‘conce[ded]
        class interests,’ and Tauler Smith has not even how such concessions might be present…”).
15      The Court relied on these representations in its order. (ECF No. 290 at p. 11 (“The settle-
16      ment, moreover, appears to apply only to the Stores’ individuals claims, per the representa-
        tions of the Stores and the Outlaw Defendants, and thus would not extinguish the existing
17      claims of any class members outside this action.”). Gaw Poe’s statements to the Court raise
        serious issues of counsel’s violation of the duty of candor to the Court, which TSLLP intends
18      to raise in a renewed motion to disqualify counsel which will address, among other issues,
19      Gaw Poe’s inadequacy as class counsel based on this and other issues.
        5 Counterclaimants and Outlaw have argued that “the limitations period has been tolled
20
        during the pendency of this class action under the American Pipe doctrine, meaning that
21      even upon the dismissal of the Stores’ claims against Outlaw, absent class members will
        have multiple years in which to bring any individual claims against it, should they so desire.”
22      (ECF No. 261 (Jul. 27, 2020) at p. 7.) As a preliminary matter, the holding in American Pipe
        cannot be used to toll the statute of limitations for subsequent class actions following dismis-
23
        sal. See China Agritech, Inc. v. Resh, -- U.S. --, 138 S. Ct. 1800, 1804, 201 L. Ed. 2d 123 (2018)
24      (after denial of class certification, “American Pipe does not permit the maintenance of a fol-
        low-on class action past expiration of the statute of limitations.”) In addition, American Pipe
25      does not apply to claims that have been settled or tried to a verdict; it is limited to instances
        in which class certification is denied, and only on certain grounds. See Torres v. Wells Fargo
26
        Bank, No. CV179305DMGRAOX, 2018 WL 6137126, at *2 (C.D. Cal. Aug. 28, 2018) (“The
27      American Pipe Court was careful to craft this rule somewhat narrowly, to failed class certi-
        fications for reasons of numerosity, as opposed to a lack of commonality, lack of standing of
28      the class representative, or bad faith.”) (citing American Pipe, 414 U.S. at 553).
                                                      –4–
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1      approval of what is in part a class settlement because the Payment Class is get-
2      ting nothing of value from the Settlement Agreement but nonetheless is un-
3      knowingly giving up rights that have been compromised by putative class coun-
4      sel and representatives. See Koby v. ARS Nat’l Servs., Inc., 846 F.3d 1071, 1079
5      (9th Cir. 2017) (“The settlement should not have been approved for one primary
6      reason: There is no evidence that the relief afforded by the settlement has any
7      value to the class members, yet to obtain it they had to relinquish their right to
8      seek damages in any other class action.”).
9            Accordingly, because the Settlement Agreement dismisses the Payment
10     Class’s claims against Outlaw, the Court should reject the Settlement Agree-
11     ment, or in the alternative, require the settling parties to comply with proce-
12     dures for class action settlements.
13
             B.     The Court Should Reject the Settlement Agreement, or
14                  Require Notice to Absent Class Members, Because It Is the
                    Product of Collusion and It Compromises Class Claims
15

16           Counsel for Counterclaimants has not disclosed how much, if any, of the

17     $125,000 to $225,000 in settlement funds (Ex. A §§ 1.2, 1.5) will go to Counter-

18     claimants, and nothing in the Settlement Agreement requires the settlement

19     money to go to any Counterclaimants or any class members. Mr. Poe has sug-

20     gested that the money will go to reimburse Gaw Poe for the costs it is contrac-

21     tually obligated to pay out of its own pocket. (Sergenian Decl., Ex. C, Ex. D at

22     SKYLINE001 (Gaw Poe responsible for all litigation costs), Ex. E at ROMA002

23     (same), Ex. F at NMRM002 (same).) In other words, Gaw Poe and Outlaw have

24     colluded in selling out the Payment Class in exchange for (a) releasing Outlaw

25     from all class claims, and (b) enriching Gaw Poe with what is essentially a self-

26     administered award of fees.

27           This level of collusion is ample reason to reject the settlement or require

28     notice to the class because it creates an incurable conflict between class counsel
                                                   –5–
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1      or representative and absent class members. See Diaz v. Tr. Territory of Pac.
2      Islands, 876 F.2d 1401, 1408 (9th Cir. 1989) (court must inquire into “prejudice
3      from … settlement or concession of class interests made by the class representa-
4      tive or counsel in order to further their own interests.”). Here, Gaw Poe and/or
5      class representatives enriched themselves with no accounting to absent class
6      members. 6 In exchange, absent class members lose access to class counsel, lose
7      access to a class representative that will assert their claims against Outlaw, and
8      lose access to key evidence that is being shielded by spurious claims of privilege
9      claims. 7
10
        6 The amount that Gaw Poe received exceeds Counterclaimant’s individual stakes in this
11
        litigation. The settlement amount is $125,000–$225,000 (Ex. A §§ I.2, I.5), yet the individual
12      Counterclaimants’ total claimed damages in this action (including trebling of actual damages
        pursuant to RICO) are only $38,940. (Sergenian Decl. ¶¶ 8–11, Ex. G–I.) The additional
13      $87,000 to $187,000 can best be understood as a payment to Gaw Poe in exchange for Gaw
        Poe’s agreement not to pursue class claims against Outlaw or assist anyone else in doing so.
14
        Moreover, if Gaw Poe keeps $87,000 to $187,000, it is improperly circumventing the proce-
15      dure for seeking fees and costs from the Court. See Dunn v. Teachers Ins. & Annuity Ass’n of
        Am., No. 13-CV-05456-HSG, 2016 WL 153266, at *8 (N.D. Cal. Jan. 13, 2016) (class counsel
16      negotiating amount of fees they would receive as part of settlement “raises the specter of
        collusion because it suggests that Plaintiffs’ counsel may have been motivated to undercut
17
        their clients’ (and the putative class’s) recovery in order to quickly generate higher attorneys’
18      fees for themselves.”); 2 McLaughlin on Class Actions § 6.4 (12th ed. revised 2015) (“Courts
        also have identified a special danger of collusiveness when the attorney fees, ostensibly stem-
19      ming from a separate agreement, were negotiated simultaneously with the settlement.”) (in-
        ternal citation and quotation omitted).
20
        7 Pursuant to the Settlement Agreement, Outlaw principals Michael Wear and Sean Lynch
21      were required to submit to recorded interviews. (Id. § I.5.) The interviews are being shielded
        from absent class members (and TSLLP) by the mediation privilege (id.), even though there
22
        has been no mediation in this action. (Sergenian Decl. ¶¶ 3, 4, Ex. C, J.) See Citizens Dev.
23      Corp. v. County of San Diego, No. 12CV0334GPC(KSC), 2019 WL 172469 (S.D. Cal. Jan. 11,
        2019) (federal mediation privilege only applies to communications during a mediation, and
24      only if there is a signed agreement for a mediation with a neutral third party). When con-
        fronted with this fact, Mr. Poe switched gears and claimed that the interview recordings are
25
        protected by a “common interest” privilege, even though Outlaw is being sued by Counter-
26      claimants. (Sergenian Decl. ¶ 4; Ex. C.) This, too, is a specious claim, as the common interest
        privilege does not apply to adverse parties. See id. at *12 (“While the common interest doc-
27      trine does not require a complete unity of interests among the participants, there is no legal
        precedent for it applying to communications between plaintiffs and select defendants in the
28
                                                     –6–
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1             In addition, allowing the settlement to proceed would sanction Gaw Poe’s
2      unethical and unlawful conduct. California’s Rules of Professional Conduct, rule
3      1-500(a) provides in relevant part: “A member shall not be a party to or partici-
4      pate in offering or making an agreement, whether in connection with the settle-
5      ment of a lawsuit or otherwise, if the agreement restricts the right of a member
6      to practice law…” Section I.9 of the Settlement Agreement plainly violates this
7      provision because it prohibits Gaw Poe from representing any “new clients” in
8      asserting claims against Outlaw. Moreover, Section I.10, which prohibits Gaw
9      Poe from providing any assistance to absent class members (including the pro-
10     vision of secretly recorded interviews with Outlaw principals) also violates Rule
11     1-500(a). Accord Hu-Friedy Mfg. Co. v. Gen. Elec. Co., No. 99 C 0762, 1999 WL
12     528545, at *3 (N.D. Ill. July 19, 1999) (finding that defendant’s interpretation of
13     protective order as prohibiting plaintiff’s counsel from using confidential infor-
14     mation that is “independently relevant and discoverable” in another lawsuit as
15     “contrary to the policy” of ABA Model Rule of Professional Conduct 5.6(b) (“A
16     lawyer shall not participate in offering or making … an agreement in which a
17     restriction on the lawyer’s right to practice is part of the settlement of a client
18     controversy”)).
19     III. CONCLUSION
20            For the foregoing reasons, Counter-Defendant Tauler Smith LLP respect-
21      fully requests that the Court reject the Settlement Agreement between Outlaw
22      and Counterclaimants, or in the alternative, require Gaw Poe to submit to the
23      Court’s class action settlement procedures, or require notice to absent class
24      members.
25
        same matter.”; “the responding parties do ‘not have a true common goal, as it could not have
26
        been [defendants’] goal to impose liability on [themselves],’ which is [plaintiff’s] objective in
27      naming the [defendants] in this suit.”) (citation omitted); see also In re Chrysler Motors Corp.
        Overnight Evaluation Program Litig., 860 F.2d 844, 846–847 (8th Cir. 1988) (providing in-
28      formation to adversary in settlement waives work product protection).
                                                     –7–
        Tauler Smith’s Brief re                                       Case No. 3:18–cv–840–GPC–BGS
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1      Dated: October 2, 2020                      Respectfully submitted,
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        Tauler Smith’s Brief re                                    Case No. 3:18–cv–840–GPC–BGS
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1                                 CERTIFICATE OF SERVICE
2            In Re: Outlaw Laboratory, LP Litigation, Case No.: 3:18-cv-00840-GPC-
3      BGS
4            I hereby certify that on October 2, 2020, copies of Tauler Smith LLP’s
5      Brief Regarding the Collusive Effect of the Outlaw–Stores Settlement
6      Agreement were filed electronically through the Court’s CM/ECG system, and
7      served by U.S. mail on all counsel of record unable to accept electronic filing.
8

9                                                 Sergenian Ashby LLP

10

11                                                By: /s/David A. Sergenian
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       Tauler Smith’s Brief re                                      Case No. 3:18–cv–840–GPC–BGS
       Collusive Effect of Settlement Agreement           Consolidated with 3:18–cv–1882–GPC–BGS
